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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

 

UNITED S'I'A'I‘ES OF AMERICA, Case NO. 14CR2354-BAS
Plaintiff, sUPERsEDING INFORMATION
V» Title lB, United States Code,
Section 1349 - Conspiracy to
SEAN ENRIQUE O'KEEFE, Commit Mail Fraud and Health Care
Fraud; and Title 18, United States
Defendant. Code, Section 9Sl(a)(l)(C) and
Title 28, United States Code,
Section 2461 - Criminal Forfeiture

 

 

 

 

The U.S. Attorney charges:
INTRODUCTORY ALLEGATIONS

.At all times relevant:

l. Defendant Sean E. O’KEEFE (hereinafter referred to as
“O'KEEFE”) Was an. attorney licensed in the state of California to
practice law. O’KEEFE owned and operated “The Law Offices of Sean E.
O’KEEFE,” in San Diego. O’KEEFE was admitted to the California State
Bar in 1984, and has been a certified specialist in the area of
California Workers’ Compensation Law since 1998.

2. O'KEEFE represented clients in their workers' compensation

cases, helping to manage their medical care, interesting With their

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insurers, and representing them before the Worker's Compensation
Appeals Board.

3. The California Workers’ Compensation System (“CWCS”)
required. that employers in. California. provide workers' compensation
benefits to their employees for qualifying injuries sustained in the
course of their employment. The CWCS was regulated by the California
Labor Code, the California Insurance Code, and the California Code of
Regulations, and was administered by the California Department of
Industrial Relations.

4. CWCS benefits were administered by the employer, an insurer,
or a third party administrator. The CWCS required claims
administrators to authorize and pay for medical care that was
“reasonably required to cure or relieve the injured worker from the
effects of his or her injury,” and included medical, surgical,
chiropractic, acupuncture, and hospital treatment.

5. The State Compensation Insurance Fund (“SCIF”) Was a quasi-
governmental organization which operated as a private company and was
considered the insurer of last resort, playing a key role in
guaranteeing the availability of affordable workers' compensation
insurance in California.

6. Injured employees could retain attorneys to represent them
in their workers’ compensation cases. These attorneys were called
“applicants' attorneys.” They were paid a fee out of the applicant’s
recovery. According to the California Department of Industrial
Relations, the applicant attorney’s job included protecting the rights
of the client, planning a strategy for the client's case to obtain all
the benefits owed to the client, advocating for the client, gathering

information to support the client's claim, and representing the client

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before a workers’ compensation judge. It was not part of the
applicant attorney’s job to seek or accept kickbacks to the attorney
for referrals to particular surgeons or hospitals.

7. Worker's compensation attorneys often recommended that their
worker’s compensation clients see certain doctors. Those doctors, in
turn, recommended that the clients be treated at the hospital or
facility at which they had admitting privileges and where they
performed surgeries. Insurance providers and SCIF paid the hospitals
and surgeons for medical services provided tx> workers’ compensation
patients.

8. Attorneys owed a fiduciary duty to their clients. This duty
required that attorneys act in their client’s best interests, and not
for their own professional, pecuniary, or personal gain. Accepting
kickbacks without the client’s consent was a breach of the attorney’s
fiduciary duty.

9. Michael Drobot (charged elsewhere) (hereinafter -“Drobot”)
owned and operated. Pacific Hospital of Long Beach. in Long Beach,
California, as well as other entities.

10. Drs. R.S., L.T., R.R., and K.R. were spine surgeons who
practiced in San Diego and other locations.

- Count 1
CONSPIRACY TO COMMIT MAIL FRAUD AND HEALTH CARE FRAUD
18 U.S.C. § 1349

11. The allegations contained. at paragraphs 1 through 10 are
realleged and incorporated by reference.

12. Beginning on an unknown date, but no later than April 2011,
and continuing through approximately July 2014, in the Southern
District of California and elsewhere, defendant SEAN ENRIQUE O’KEEFE

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did knowingly and intentionally conspire with Drobot, Drs. R.S., L.T.,
R.R., K.R. and others to:
an deprive O'Keefe's clients of their right to his honest
services by devising a kickback scheme, in which he received
money in exchange for referring injured workers to specific
medical professionals and facilities when the injured
workers required spine surgery and other medical services,
and which used mailings sent via U.S. Postal Service and
private and commercial, interstate carriers as an essential
part of the scheme, in violation of 18 U.S.C. §§ 1341 and
1346; and
' b.defraud a health-care benefit program by means of materially
false and fraudulent pretenses, representations, and
promises, by inducing insurance carriers to pay workers'
compensation insurance claims for medical care for patientsr
by concealing a kickback scheme through which Defendant
received money to refer injured workers to specific medical
professionals and facilities to receive spine surgeries and
other medical services, which was material to the insurance
carriers, in Violation of 18 U.S.C. § 1347.
MANNER AND MEANS
13. The conspiracy was carried out using the following manner
and means, among others:
a. O’KEEFE entered into agreements with Drobot and others
to obtain kickbacks for referring O'KEEFE’s law clients to specific
medical professionals, including Drs. R.S., L.T., R.R., and K.R., for

spinal surgery and other medical services.

 

 

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b. Based on the fraudulent offer of kickbacks, O’KEEFE
referred his clients with spinal injuries to Drs. R.S., L.T., R.R.,
and K.R. for evaluation and surgery, in violation of his fiduciary
duty to his clients.

c. 'O’KEEFE concealed from his clients the kickback
payments he received from Drobot and others, in violation of his
fiduciary duty to his clients.

d. O’KEEFE disguised. and concealed the illegal kickback
scheme by instructing' Drobot to jpay' the kickbacks to employees of
O'KEEFE's law firm, to whom O’KEEFE owed _compensation, and to
misrepresent these employees as working for Pacific Hospital of Long
Beach.

e. O’KEEFE disguised. and concealed the illegal kickback
scheme by entering into sham legal retainer agreements with Drobot and
others. l l

f. O’KEEFE generated fraudulent “legal invoices” to Drobot
and others for services he and his firm never provided in an effort to
disguise and conceal the illegal kickbacks.

g. The corrupt doctors and hospitals that treated
O’KEEFE's clients submitted bills to SCIF and other insurance carriers
via U.S. mail, and fraudulently concealed the illegal kickbacks from
SCIF and other insurance carriers in those mailings.

h. O'KEEFE concealed his illegal kickback scheme in
communications with his legal clients, SCIF and other insurance
carriers via U.S. mail.

i. O'KEEFE regularly signed and sent to his clients, to
insurance companies, and to SCIF a “Statement in Compliance with Labor
Code § 4906(G)” that he “[had] not offered, delivered, received, or

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accepted any rebate, refund, commission, preference, patronage,
dividend, discount, or other consideration, whether in the form of
money' or' otherwise, as compensation 13r inducement for‘ any' referred
examination or evaluation.”

j. O'KEEFE caused SCIF and other insurance carriers to pay
for the surgeries procured through kickbacks by checks sent through

U.S. mail.

All in violation of Title 18, United States Code, Section 1349.

FORFEITURE ALLEGATIONS

14. The allegations contained in paragraphs 1 through 13 of this
Information are hereby realleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States
Code, Section 981(a)(1)(C) and Title 28, United States Code, Section
2461.

15. Upon conviction of Count l, defendant SEAN ENRIQUE O'KEEFE
shall forfeit to the United States, any real or' personal property
constituting, derived from, or traceable to the proceeds that the
defendant obtained directly or indirectly as a result of the offense,
pursuant to 'Title 18, United States Code, Section 981(a)(l)(C) and
Title 28, United States Code, Section 2461(c).

16. If any of the property described above, as a result of any
act or omission of the defendant:

a.cannot be located upon the exercise of due diligence;

b.has been transferred or sold to, or deposited with, a third
party;

c.has been placed beyond the jurisdiction of the court;

d.has been substantially diminished in value; or

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e.has been. commingled with other property' which cannot be

divided without difficulty,

it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p), made applicable herein. by Title 28,
United States Code, Section 2461(c) and Title 18, United States Code,
Section 982(b), to seek forfeiture of any other property of the
defendant up to the value of the said property described above as

being subject to forfeiture.

DATED=_ \l . *- 9 . LAURA E. DUFFY
United States Attorney

VALERIE H. CHU
Assistant U.S. Attorney

BY= \H/%/MM\ lien

FRPD SHEPPARD
Assistant U.S. Attorney

 

 

